                Case 2:19-bk-23232-BR                   Doc 1 Filed 11/08/19 Entered 11/08/19 14:16:33                                     Desc
                                                        Main Document    Page 1 of 12

Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Syndicate Films International, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  10850 Wilshire Boulevard
                                  12th Floor
                                  Los Angeles, CA 90024
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 2:19-bk-23232-BR                       Doc 1 Filed 11/08/19 Entered 11/08/19 14:16:33                                     Desc
                                                             Main Document    Page 2 of 12
Debtor    Syndicate Films International, LLC                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                Case 2:19-bk-23232-BR                    Doc 1 Filed 11/08/19 Entered 11/08/19 14:16:33                                        Desc
                                                         Main Document    Page 3 of 12
Debtor   Syndicate Films International, LLC                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Case 2:19-bk-23232-BR   Doc 1 Filed 11/08/19 Entered 11/08/19 14:16:33   Desc
                        Main Document    Page 4 of 12
Case 2:19-bk-23232-BR   Doc 1 Filed 11/08/19 Entered 11/08/19 14:16:33   Desc
                        Main Document    Page 5 of 12
Case 2:19-bk-23232-BR   Doc 1 Filed 11/08/19 Entered 11/08/19 14:16:33   Desc
                        Main Document    Page 6 of 12
    Case 2:19-bk-23232-BR   Doc 1 Filed 11/08/19 Entered 11/08/19 14:16:33   Desc
                            Main Document    Page 7 of 12


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                       12th Floor
                       Los Angeles, CA 90024


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                       Caceres & Shamash, LLP
                       9701 Wilshire Boulevard
                       Suite 1000
                       Beverly Hills, CA 90212


                       Alan S. Gutman, Esq.
                       433 N. Camden Drive
                       Suite 960
                       Beverly Hills, CA 90210-4413


                       Axis Entertainment, Inc.
                       4130 Prado De Los Caballos
                       Calabasas, CA 91302


                       Behzad Nahai, Esq.
                       Nahai Law Group
                       10850 Wilshire Boulevard
                       Suite 1100
                       Los Angeles, CA 90024


                       E1 Films Canada
                       134 Peter Street
                       Suite 700
                       Toronto Ontario M5V 2H2
                       CANANDA


                       Franchise Tax Board
                       P.O. Box 1673
                       Bankruptcy Unit
                       Sacramento, CA 95812


                       Franchise Tax Board
                       P.O. Box 2952
                       Bankruptcy Section, MS: A-340
                       Sacramento, CA 95812-2952
Case 2:19-bk-23232-BR   Doc 1 Filed 11/08/19 Entered 11/08/19 14:16:33   Desc
                        Main Document    Page 8 of 12



                   Franchise Tax Board
                   P.O. Box 1720, MS: A-260
                   c/o General Counsel Section
                   Rancho Cordova, CA 95741-1720


                   Franchise Tax Board
                   P.O. Box 942840
                   Sacramento, CA 94240


                   Internal Revenue Service
                   P.O. Box 7346
                   Centralizied Bankruptcy
                   Philadelphia, PA 19101-7346


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                   Warren, NJ 07059


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Case 2:19-bk-23232-BR   Doc 1 Filed 11/08/19 Entered 11/08/19 14:16:33   Desc
                        Main Document    Page 9 of 12



                   US Attorney's Office Civil Process
                   300 North Los Angeles Street
                   Federal Builiding Room 7516
                   Los Angeles, CA 90012


                   USDOJ Attorney General
                   P.O. Box 683
                   Ben Franklin Station
                   Washington, DC 20044
      Case 2:19-bk-23232-BR                       Doc 1 Filed 11/08/19 Entered 11/08/19 14:16:33                                                    Desc
                                                  Main Document    Page 10 of 12


Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
Email Address
Charles Shamash 178110
9701 Wilshire Boulevard
Suite 1000
Beverly Hills, CA 90212
(310) 205-3400 Fax: (310) 878-8308
California State Bar Number: 178110 CA
cs@locs.com




     Attorney for: Debtor
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
         Syndicate Films International, LLC                                   ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 7

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Dennis Brown                                                            , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
Case 2:19-bk-23232-BR   Doc 1 Filed 11/08/19 Entered 11/08/19 14:16:33   Desc
                        Main Document    Page 11 of 12
     Case 2:19-bk-23232-BR                        Doc 1 Filed 11/08/19 Entered 11/08/19 14:16:33                                                    Desc
                                                  Main Document    Page 12 of 12



                     Addendum to Corporate Ownership Statement Pursuant to
                  F.R.B.P. 1007(a)(1) and 7007.1, and Local Bankruptcy Rule 1002-5
The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
class of the corporation’s(s’) equity interests:
 Davand Holdings, LLC
 10850 Wilshire Boulevard
 Suite 1240
 Los Angeles, CA 90024




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
